        Case 1:24-cr-00273-TNM Document 18-3 Filed 06/24/24 Page 1 of 1




Dear Honorable Trevor N. McFadden,
    My name is Dana Adkins the mother of Miles B. Adkins. I am writing this about my
son’s character. As a mother I can say I am very proud of him, through all of his life. The
good and the bad. From the time he was little family, friends and neighbors always
wanted him to play with their children due to the kindness and temperament Miles had
with others. This made me proud of him. When he was in High School instead of taking
a girlfriend to his Proms and Homecomings he would take a girl with a disability
knowing she would not experience it if he hadn’t. Again this made me very proud of him.
His kind ways always shining through. Then he became a Marine to defend our
country. As you guessed it I couldn’t have been prouder of his actions. He like so many
others didn’t come back home quite the same man he left. He was hurt and had PTSD.
He over came that with his strong will by doing surfing with other wounded warriors. He
still does good things for others. Besides his family and friends he is still a Marine. I
appreciate your time to let me tell you a little about my son.

                                                   Sincerely,
                                                      Dana M. Adkins
